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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

V.
FAN YANG, Ct.
YANG YANG, Ct.
a/k/a “Yang Chen,” Ct.
a/k/a “Yuki,” Ch.
GE SONGTAO, Ct.
a/k/a “GST,”
a/k/a “Ge Song Tao,” Ct.
a/k/a “Sherman,” and
ZHENG YAN
a/k/a “Kari”
INDICTMENT
The Grand Jury charges:
BACKGROUND

CASENO. 3:14-cr- 19Z-J-2OUCK

Un i W hoe

18 U.S.C. § 371
18 U.S.C. § 922(a)(6)
18 U.S.C. § 1001 (a)
18 U.S.C. § 371

13 U.S.C. § 305 &
18 U.S.C. §2

18 U.S.C. §§ 554, 2

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i. Defendant FAN YANG was born in the People’s Republic of

China (or PRC) in or about 1985, entered in the United States in or about

1999, and became a U.S. citizen in or about 2006. FAN YANG enlisted in

the U.S. Navy in or about 2005 but was subsequently honorably discharged in

or about 2007. After attending college and obtaining a bachelor’s degree in

electrical engineering, FAN YANG then reenlisted into the Navy in or about

July 2012 to attend Officer Candidate School. After FAN YANG received

his commission as an Officer, he trained to become a naval flight officer,

obtained a Top Secret security clearance, and was eventually transferred in or
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about November 2014 to Naval Air Station Jacksonville. He has resided in
the Middle District of Florida since that time. FAN YANG holds the rank of
Lieutenant.

2. Defendant YANG YANG was born in the PRC in or about
1985. After emigrating to the United States, she married FAN YANG in or
about 2013 and moved with him to the Middle District of Florida in or about
November 2014. YANG YANG became a U.S. citizen in or about 2016.

3: Defendant GE SONGTAO is a resident of the PRC and not a
U.S. citizen. He identified himself in a U.S. visa application as the chairman
of Shanghai Breeze Technology Co. Ltd. (Shanghai Breeze), a company
headquartered in Shanghai, PRC. On or about September 26, 2016, GE
SONGTAO was issued a B1/B2 U.S. visa. A B1/B2 visa is a nonimmigrant
visa that permits temporary entry into the United States for business and
tourism purposes. GE SONGTAO has travelled to the United States on
numerous occasions, including in or about July 2018.

4, Defendant ZHENG YAN is a resident of the PRC and not a
U.S. citizen. ZHENG YAN is GE SONGTAO’s employee. ZHENG YAN
has travelled to the United States on numerous occasions, including in or

about July 2018.
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5. BQ Tree LLC is a Florida limited liability company that YANG
YANG incorporated in or about May 2015. Both FAN YANG and YANG
YANG have BQ Tree LLC business cards, which identify them as consultants
for the company. Both FAN YANG and YANG YANG have used email
accounts with the domain @bqtree.com to conduct business on behalf of BQ
‘Tree LLC.

6. In or about April 2017, FAN YANG used his @bqtree.com
email account to communicate with a company that offered firearms
instruction in the Orlando, Florida area. FAN YANG stated that BO Tree
LLC was a consulting firm that focused on bringing Chinese businesses and
U.S. businesses together. He explained that his company had a client in
China that wanted to bring Chinese citizens to the United States for “firearm
tourism.” FAN YANG and a representative of the firearms instruction
company traded emails about this project, and FAN YANG eventually added
YANG YANG as a “cc” to the exchange, explaining that she would be
handling the Chinese client’s travel.

ds BQ Tree LLC has corporate bank accounts with at least two
financial institutions. YANG YANG has signatory authority over those
accounts. BQ Tree LLC’s account application with one such institution

describes BQ Tree LLC’s business as an online office products and cellphone

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accessories retailer/wholesaler. The largest source of funding for BQ Tree
LLC’s bank accounts are transfers from GE SONGTAO’s company, Shanghai
Breeze. Between in or about November 2016 and in or about August 2019,
bank accounts in the name of either BQ Tree, LLC or YANG YANG received
approximately $205,270 in transfers from Shanghai Breeze and ZHENG
YAN. Some of the money transferred into the BQ Tree LLC bank accounts
was, in turn, transferred into the personal bank accounts of YANG YANG
and FAN YANG and then used primarily for personal expenses.

8. At FAN YANG’s request, GE SONGTAO has paid YANG
YANG as an employee of Shanghai Breeze. On or about November 10,
2016, YANG YANG executed an employment contract with Shanghai
Breeze. The contract was signed by GE SONGTAO on behalf of his
company. Under the terms of the contract, during a probationary period,
Shanghai Breeze agreed to pay YANG YANG a monthly salary of $3,000,
which would increase to $5,000 per month after the probationary period. The
contract describes YANG YANG’s duties as handling business operations,
conducting business negotiations, collaborating with other factories, declaring
products at customs, and conducting other business for Shanghai Breeze in the

United States.
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9. Since 2016, YANG YANG, GE SONGTAO, and ZHENG
YAN have frequently communicated via email. Between in or about
November 2016 and in or about September 2019, YANG YANG has sent or
received approximately 400 emails to or from GE SONGTAO or ZHENG
YAN. These emails generally concern GE SONGTAO’s efforts to purchase
U.S.-manufactured vessels that have both civilian or military applications.

10. FAN YANG’s communications with GE SONGTAO predate
YANG YANG’s. FAN YANG and GE SONGTAO began communicating
over the internet no later than in or about 2008. In addition to electronic
communications, FAN YANG and GE SONGTAO have met in person on
several occasions, beginning no later than in or about 2013. They have met,
among other places, near military installations in Jacksonville and Pensacola,
Florida.

11. FAN YAN has attempted to hide from his Navy supervisors his
and YANG YANG’s relationship with GE SONGTAO and ZHENG YAN.
For example, on or about July 9, 2018, FAN YANG submitted a NAVPERS
1336/3 (Rev. 02-2011) Special Request/ Authorization Form, a document
used by Navy personnel to request time off from work. FAN YANG’s form
requested time off from July 12 to July 16, 2018, for the stated purpose of

taking his family to “Disney” for the weekend. Rather than taking their
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family to a Disney amusement park, however, FAN YANG and YANG
YANG flew from Jacksonville, Florida to Sioux City, lowa on or about July
13, 2018, met with GE SONGTAO and ZHENG YAN, and then made the
return trip to Jacksonville on or about July 15, 2018.

COUNT ONE
(Conspiracy to Violate Federal Firearms Laws)

dL. The Grand Jury realleges and incorporates by reference the
allegations in paragraphs | through 11 of the above Background section as
though fully set forth herein.

I. The Agreement

2 From an unknown date, but beginning no later than in or about
March 2017 and continuing through on or about October 17, 2019, in the
Middle District of Florida, and elsewhere, the defendants,

FAN YANG,
YANG YANG,
a/k/a “Yang Chen,”
a/k/a “Yuki,” and
GE SONGTAO,
a/k/a “GST,”
a/k/a “Ge Song Tao,”
a/k/a “Sherman,”
did knowingly and willfully conspire with each other and with other persons,

both known and unknown to the Grand Jury, to commit offenses against the

United States, specifically:
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(1) knowing possession of a firearm, that is, a Sig Sauer pistol, in and

affecting interstate and foreign commerce by a person who knew he was

an alien who had been admitted to the United States under a

nonimmigrant visa, in violation of 18 U.S.C. § 922(g)(5); and

(ii) willful transfer, giving, and delivery of the Sig Sauer pistol to a

person whom the transferor knew, and had reasonable cause to believe,

did not reside in the State in which the transferor resided when neither

the transferor nor the person who received the firearm was a licensed

firearms dealer, importer, manufacturer, or collector, in violation of 18

U.S.C. § 922(a)(5).

Il. Manner and Means

3: It was part of the conspiracy that FAN YANG, a resident of the
State of Florida, would and did purchase a Sig Sauer pistol for GE
SONGTAO, a resident of the PRC and an alien admitted to the United States
under a nonimmigrant visa.

4. It was further part of the conspiracy that GE SONGTAO would
take actual possession of the Sig Sauer pistol when in the United States.

=f It was further part of the conspiracy that YANG YANG would
and did arrange to store the pistol when GE SONGTAO was not in the
United States.

6. It was further part of the conspiracy that GE SONGTAO would
and did pay FAN YANG and YANG YANG for the purchase and storage of

the pistol.
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1. It was further part of the conspiracy that the conspirators would
and did engage in acts and make statements to promote and achieve the
objects of the conspiracy and to hide and conceal the purposes of the
conspiracy and the acts committed in furtherance thereof.

III. Overt Acts

8. In furtherance of the conspiracy and to effect the objects of that
conspiracy, the following overt acts, among others, were committed by one or
more of the defendants or other conspirators in the Middle District of Florida
and elsewhere:

a) Onor about March 20, 2017, GE SONGTAO’s company, Shanghai

Breeze, wired $40,000 to a bank account of FAN YANG and
YANG YANG’s company, BQ Tree LLC.

b) On or about March 30, 2017, FAN YANG purchased a Sig Sauer
pistol for approximately $1,049 from a business in Phoenix, Arizona
and directed that it be shipped to an engraving business in Union,
Michigan.

c) Onor about April 25, 2017, FAN paid approximately $159 to have
the Sig Sauer pistol engraved with the phrase “NEVER OUT OF

THE FIGHT” and GE SONGTAO’s initials, “G.S.T.”
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d)

g)

h)

On or about April 25, 2017, FAN YANG directed the engraving
company to send the Sig Sauer pistol to a federally licensed firearms
dealer in Orange Park, Florida.

On or about April 30, 2017, FAN YANG took possession of the Sig
Sauer pistol from the firearms dealer in Orange Park.

On or about April 30, 2017, in connection with taking possession of
the Sig Sauer pistol, FAN YANG executed a Firearms Transaction
Record (also known as ATF-form 4473). On that form, FAN
YANG falsely and fraudulently certified that he was the actual
transferee/buyer of the Sig Sauer pistol.

On or about June 28, 2017, YANG YANG sent GE SONGTAO an
email to which she attached an expense report, charging GE
SONGTAO for the Sig Sauer pistol, its engraving, and the cost of a
background check, against the balance of the $40,000 that Shanghai
Breeze had wired to BQ Tree LLC on or about March 20, 2017.

In or about December 2017, YANG YANG rented a nearby storage
unit in which to store GE SONGTAO’s possessions, including the
Sig Sauer firearm.

On or about January 3, 2018, YANG YANG sent GE SONGTAO

and ZHENG YAN an email to which she attached an expense
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report, charging GE SONGTAQO for the storage unit. This was the
first of a series of emails to which YANG YANG attached expense
reports, charging GE SONGTAO for the rental of storage units for
the Sig Sauer firearm and other property.

All in violation of 18 U.S.C. § 371.

COUNT TWO
(False Statement to Federally Licensed Firearms Dealer)

1. The Grand Jury realleges and incorporates by reference the
allegations in paragraphs | through 11 of the above Background section and
paragraphs 3 through 8(i) of Count One as though fully set forth herein.

Le On or about April 30, 2017, in the Middle District of Florida, in
connection with the acquisition of a firearm, that is a Sig Sauer pistol, from a
federally licensed firearms dealer, the defendant,

FAN YANG,
knowingly made a false and fictitious written statement intended and likely to
deceive the firearms dealer with respect to a fact material to the lawfulness of
the sale and disposition of the Sig Sauer pistol, that is, FAN YANG falsely
represented in writing on a Firearms Transaction Record (also known as ATF-
form 4473) that he was the actual transferee/buyer of the Sig Sauer pistol

when, at that time, FAN YANG was purchasing the Sig Sauer pistol on behalf

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of someone else, specifically, GE SONGTAO who, as an alien admitted to the
United States on a nonimmigrant visa, was prohibited from purchasing and
possessing firearms.

All in violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2).

COUNT THREE
(False Statement within the Executive Branch’s Jurisdiction)

1. The Grand Jury realleges and incorporates by reference the
allegations in paragraphs | through 11 of the above Background section and
paragraphs 3 through 8(i) of Count One as though fully set forth herein.

L. Introduction

Di United States government employees with access to classified
information, including members of the U.S. military like FAN YANG, are
subject to background investigations to determine whether giving such
employees access to classified information is consistent with the interests of
national security. After being given access to classified information, such
employees are the subject of periodic reinvestigations. As part of this
assessment, background investigators evaluate a variety of factors, including
the employee’s close and continuing contacts with foreign nationals to, among
other things, assess whether the employee is free from conflicting allegiances

and the potential for coercion. To make this determination, investigators rely

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in part on employees’ submission of information through the Electronic
Questionnaires for Investigations Processing (e-QIP) system, which asks
employees to provide information material to their fitness to hold a security
clearance.

3. Under the section “Penalties for Inaccurate or False Statements,”
the e-QIP form states the following:

The U.S. Criminal Code (title 18, section 1001) provides that
knowingly falsifying or concealing a material fact is a felony
which may result in fines and/or up to five (5) years
imprisonment. In addition, Federal agencies generally fire, do
not grant security clearance, or disqualify individuals who have
materially and deliberately falsified these forms, and this remains
a part of the permanent record for future placements. Your
prospects of placement or security clearance are better if you
answer all questions truthfully and completely. You will have
adequate opportunity to explain any information you provide on
this form and to make your comments part of the record.

4, Under “Statement of Understanding” the e-QIP form states:
I have read the instructions and I understand that if I withhold,
misrepresent, or falsify information on this form, I am subject to
the penalties for inaccurate or false statement (per U.S. Criminal
Code, Title 18, section 1001), denial or revocation of a security
clearance, and/or removal and debarment from Federal Service.
5: On or about January 7, 2019, in support of the renewal of his
Top Secret security clearance, FAN YANG completed and electronically

submitted his e-QIP form.

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6. In e-QIP Section 13A — Employment Activities, employees are
directed to “List all of your employment activities, including unemployment
and self-employment, beginning with the present and working back 10 years.”
FAN YANG did not list his employment (or self-employment) with BQ Tree
LLC or any of BQ Tree LLC’s purported or prospective clients, such as
Shanghai Breeze or GE SONGTAO.

7. In e-QIP Section 19 — Foreign Contacts, the first question reads:

Do you have, or have you had, close and/or continuing contact

with a foreign national within the last seven (7) years with whom

you, or your spouse . . . are bound by affection, influence,

common interest, and/or obligation?

FAN YANG falsely answered “No” to this question and did not disclose the
longstanding personal and business relationships that FAN YANG and
YANG YANG had with GE SONGTAO and ZHENG YAN.

8. In e-QIP Section 20A — Foreign Activities, Subsection Foreign
Financial Interests Controlled on Your Behalf, the first question reads: ““Have
you. .. EVER had any foreign financial interests (such as . . . bank accounts
...) in which you or they have direct control or direct ownership?” The
second question in this section reads: ‘““Have you... EVER had any foreign

financial interests that someone controlled on your behalf?” FAN YANG

falsely answered “No” to both of these questions, failing to disclose that, in or

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about 2013, he had a bank account with the Bank of China, over which he had
given power of attorney to a third party.

9. In e-QIP Section 20B — Foreign Business, Professional Activities,
and Foreign Government Contacts, the first question reads: “Have you in the
last seven (7) years provided advice or support to any individual associated
with a foreign business or other foreign organization that you have not
previously listed as a former employer? (Answer 'No' if all your advice or
support was authorized pursuant to official U.S. Government business.)”
FAN YANG falsely answered “No” to this question, did not otherwise list
Shanghai Breeze or any foreign businesses or other foreign organizations
among his former employers, and did not disclose his employment with BQ
Tree LLC, including his efforts with YANG YANG in or about April 2017, to
organize firearms training sessions for a Chinese client.

10. __ A later question in e-QIP Section 20B reads: “Has any foreign
national in the last seven (7) years offered you a job, asked you to work as a
consultant, or consider employment with them?” FAN YANG answered
“Yes” to this question, but in response to the follow up question, “Did you
accept the offer?” he falsely answered, “No.” Where the form directs,
“Provide explanation,” FAN YANG stated that in late 2017, GE SONGTAO

had offered FAN YANG a position as a “Consultant/ U.S. representative for

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his Chinese business,” which according to FAN YANG, “import{s]
speedboats from the U.S. for sale in China.” FAN YANG stated that he
informed GE SONGTAO that he was still in the Navy and could not take on
additional work. This is FAN YANG’s only reference in his e-QIP
submission to GE SONGTAO and GE SONGTAO’s business.
Il. The Charge
11. Onor about January 7, 2019, in the Middle District of Florida, in
a matter within the jurisdiction of a department and agency of the United
States, the defendant,
FAN YANG,
did knowingly and willfully make and use a writing and document containing
materially false, fictitious, and fraudulent representations and entries to the
United States Government, to wit, a written e-QIP form, in which he:
(1) fraudulently failed to disclose his employment by BQ Tree LLC;
(11) falsely denied having, and having had, close and/or continuing
contact with a foreign national within the last seven years with whom
he or his spouse was bound by affection, influence, common interest,
and/or obligation;
(11) falsely denied having had any foreign financial interests;

(iv) falsely denied having had any foreign financial interests that

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someone controlled on his behalf; and

(v) falsely denied having provided, in the last seven years, advice or
support to any individual associated with a foreign business or other
foreign organization.

All in violation of 18 U.S.C. § 1001(a).

COUNT FOUR
(Conspiracy to Violate Export Laws)

1. The Grand Jury realleges and incorporates by reference the
allegations in paragraphs | through 11 of the above Background section as
though fully set forth herein.

I. Introduction

2. The U.S. Department of Commerce, through the U.S. Census
Bureau and the U.S. Department of Homeland Security, Customs and Border
Protection, participates in and maintains the Automated Export System
(AES), an electronic portal of information for exports of goods from the
United States. The Census Bureau requires the filing of electronic export
information (EEI) through the AES (using AESDirect) pursuant to 13 C.F.R.
Part 30. The EEI is also known as a shipper’s export declaration (SED).
The purpose of these requirements is to strengthen the U.S. Government’s

ability to prevent the export of certain items to unauthorized destinations and

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end users because the AES aids in targeting, identifying, and, when necessary,
confiscating suspicious or illegal shipments prior to exportation. 15 C.F.R. §
30.1(b). Exporters file EEI by entering data into AES via a computer. 15
C.F.R. § 30.6(a). EEI includes the date of export, the U.S. principal party of
interest, the description of the commodity to be exported, the intermediate
consignee’s name and address (if applicable), the ultimate consignee’s name
and address, and the country of ultimate destination. 15 C.F.R. § 30.6.
Each filing can be identified by a unique Internal Transaction Number.
Exporters, shippers, and freight forwarders are required to file an EEI for
every export of goods or technology from the United States that has a value
greater than $2,500 or for which an export license was required. 15 C.F.R. §
758.1; 19: C.F RR. § 30,2;
II. The Agreement
3; From an unknown date, but beginning no later than in or about
September 2018 and continuing through on or about October 17, 2019, in the
Middle District of Florida, and elsewhere, the defendants,
FAN YANG,
YANG YANG,
a/k/a “Yang Chen,”
a/k/a “Yuki,”
GE SONGTAO,

a/k/a “GST,”
a/k/a “Ge Song Tao,”

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a/k/a “Sherman,” and
ZHENG YAN,
a/k/a “Kari,”

did knowingly and willfully conspire with each other and with other persons,
both known and unknown to the Grand Jury, to commit offenses against the
United States, specifically:

(i) knowingly causing the submission of false and misleading export

information through an SED and the AES, in violation of 13 U.S.C. §

305; and

(11) fraudulently and knowingly attempting to export and send from the

United States any merchandise, article, and object contrary to any law

or regulation of the United States, in violation of 18 U.S.C. § 554.

III. Manner and Means

4. It was part of the conspiracy that GE SONGTAO and ZHENG
YAN would and did seek to have Shanghai Breeze purchase U.S.-
manufactured vessels that had both civilian and military applications for use in
the PRC.

5. It was further part of the conspiracy that, to aid them in dealing
with a U.S. manufacturer, GE SONGTAO and ZHENG YAN would and did
enlist assistance from YANG YANG and FAN YANG’s company, BQ Tree
LLC.

6. It was further part of the conspiracy that YANG YANG would

and did act as the primary point of contact with a California-based marine

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manufacturer (the U.S. Manufacturer), and FAN YANG would and did
provide advice to YANG YANG regarding the transaction.

de It was further part of the conspiracy that, to hide the fact that
Shanghai Breeze was buying the vessels for use in the PRC’s mainland, GE
SONGTAO and ZHENG YAN would and did arrange for wire transfers to
the U.S. Manufacturer to be made from Hong Kong, rather than mainland
China.

8. It was further part of the conspiracy that GE SONGTAO and
ZHENG YAN would and did provide YANG YANG with a false and
fictitious shipping address for the vessels (Belt Consulting Company in Hong
Kong) and a false and fictitious end user (United Vision Limited in Hong
Kong).

9. It was further part of the conspiracy that YANG YANG would
and did provide this false and fraudulent shipping and end user information to
the U.S. Manufacturer for use in an SED, even though both FAN YANG and
YANG YANG knew the information was false and fraudulent.

10. It was further part of the conspiracy that the conspirators would
and did engage in acts and make statements to promote and achieve the
objects of the conspiracy and to hide and conceal the purposes of the

conspiracy and the acts committed in furtherance thereof.

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LI,

IV. Overt Acts

In furtherance of the conspiracy and to effect the objects of that

conspiracy, the following overt acts, among others, were committed by one or

more of the defendants or other conspirators in the Middle District of Florida

and elsewhere:

a)

b)

d)

Beginning in or about September 2018, YANG YANG began an
email correspondence with representatives of the U.S. Manufacturer
regarding the negotiated purchase and shipping of inflatable vessels
and engines to an overseas buyer.

YANG YANG forwarded certain emails with the U.S.
Manufacturer to ZHENG YAN.

On or about July 24, 2019, YANG YANG emailed the U.S.
Manufacturer, requesting that particular engines be added to the
vessels to be purchased. YANG YANG requested a quote for the
engines, specifically, Evinrude 5SMFE outboard engines, which are
marketed “for military use.”

On or about August 6, 2019, GE SONGTAO and ZHENG YAN
caused the U.S. Manufacturer to receive an international wire
transfer in the amount of $79,929, ostensibly from Belt Consulting in

Hong Kong.

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e) On or about September 20, 2019, YANG YANG emailed ZHENG
YAWN regarding the status of the pending transaction with the U.S.
Manufacturer. YANG YANG attached to her email an invoice
from the U.S. Manufacturer for the proposed sale of four vessels
with engines and accessories. The invoice was directed to “Belt
Consulting Company Limited.” The invoice listed the same
address for both Belt Consulting and the intended shipping address
for the goods: Unit E&F, 13/F, Wang Cheong Commercial BLDG,
No. 249-253, Reclamation Street, Kowloon, Hong Kong. The
invoiced credited the buyer with an advance deposit of $54,207.31
and listed $126,550.09 as the total amount due. Regarding the
attached invoice, YANG YANG wrote to ZHENG YAN that they
needed to confirm that amount of the listed deposit was correct.
Further, YANG YANG asked ZHENG YAN about the process for
clearing the shipment through customs. In her signature block,
YANG YANG identified herself as both BQ Tree LLC’s chief
consultant and Shanghai Breeze’s representative in the United
States.

f) On or about September 30, 2019, GE SONGTAO and ZHENG

YAN caused the U.S. Manufacturer to receive an international wire

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8)

transfer in the amount of approximately $34,905, ostensibly from
Belt Consulting in Hong Kong.

On or about October 7, 2019, after the U.S. Manufacturer informed
YANG YANG, via email, that the goods were ready to ship upon
receipt of shipping address and end-user information, YANG

YANG responded falsely via email that the “Company and delivery
Address” were Belt Consulting Company Limited, Unit E&F, 13/F,
Wang Cheong Commercial Building, No. 249-253, Reclamation
Street, Kowloon, Hong Kong. YANG YANG further stated falsely
that the end user was United Vision Limited (Hong Kong). This
resulted in the submission, on or about October 8, 2019, of a false
SED into the AES that the end user was Belt Consulting Company
Limited in Hong Kong, rather than Shanghai Breeze, a Shanghai

Breeze client, or another entity in mainland China.

All in violation of 18 U.S.C. § 371.

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COUNT FIVE
(False Export Information)

The Grand Jury realleges and incorporates by reference the

allegations in paragraphs | through 11 of the above Background section and

paragraphs 4 through 11(g) of Count Four as though fully set forth herein.

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2. On or about October 7, 2019, in the Middle District of Florida
and elsewhere, the defendants,
YANG YANG,
a/k/a “Yang Chen,”
a/k/a “Yuki,”
GE SONGTAO,
a/k/a “GST,”
a/k/a “Ge Song Tao,”
a/k/a “Sherman,” and
ZHENG YAN,
a/k/a “Kari,”
knowingly caused, and aided and abetted the causing of, the submission of
false and misleading export information through a Shippers Export
Declaration (SED) and the Automated Export System (AES), stating that the
end user was Belt Consulting Company Limited in Hong Kong, rather than
Shanghai Breeze, a Shanghai Breeze client, or another entity in mainland
China.
All in violation of 13 U.S.C. § 305 and 18 U.S.C. § 2.

COUNT SIX
(Smuggling)

1; The Grand Jury realleges and incorporates by reference the
allegations in paragraphs | through 11 of the above Background section,

paragraphs 4 through 11(g) of Count Four as though fully set forth herein.

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2, From in or about July 2018 through on or about October 17,
2019, in the Middle District of Florida and elsewhere, the defendants,
YANG YANG,
a/k/a “Yang Chen,”
a/k/a “Yuki,”
GE SONGTAO,
a/k/a “GST,”
a/k/a “Ge Song Tao,”
a/k/a “Sherman,”
ZHENG YAN,
a/k/a “Kari,”
fraudulently and knowingly attempted to export and send, and aided and
abetted attempts to export and send, from the United States seven inflatable
vessels and associated accessories, including eight engines, in a manner
contrary to the law of the United States, specifically, in violation of 13 U.S.C.
§ 305, as alleged in Count Five.
All in violation of 18 U.S.C. §§ 554 and 2.
FORFEITURE
1 The allegations contained in Counts One, Four and Six are
incorporated by reference for the purpose of alleging forfeiture pursuant to the
provisions of 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).
2. Upon conviction of a conspiracy to violate 18 U.S.C. § 922, in

violation of 18 U.S.C. § 371, the defendants,

FAN YANG,

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YANG YANG,
a/k/a “Yang Chen,”
a/k/a “Yuki,” and
GE SONGTAO
a/k/a “GST,”
a/k/a “Ge Song Tao,”
a/k/a “Sherman,”

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c), any property, real or personal, which constitutes or is
derived from proceeds traceable to the offense.
Bs Upon conviction of a conspiracy to violate 18 U.S.C. § 554, in
violation of 18 U.S.C. § 371, the defendants,
FAN YANG,
YANG YANG,
a/k/a “Yang Chen,”
a/k/a “Yuki,”
GE SONGTAO,
a/k/a “GST,”
a/k/a “Ge Song Tao,”
a/k/a “Sherman,” and
ZHENG YAN,
a/k/a “Kari,”
shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c), any property, real or personal, which constitutes or is
derived from proceeds traceable to the offense.

4. Upon conviction of a violation of 18 U.S.C. § 554, the

defendants,

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YANG YANG,
a/k/a “Yang Chen,”
a/k/a “Yuki,”
GE SONGTAO,
a/k/a “GST,”
a/k/a “Ge Song Tao,”
a/k/a “Sherman,” and
ZHENG YAN,
a/k/a “Kari,”
shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c), any property, real or personal, which constitutes or is
derived from proceeds traceable to the offense.

5. The allegations contained in Count Two are incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of 18
U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

6. Upon conviction of a violation of 18 U.S.C. § 922(a)(6), the
defendant,

FAN YANG,
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C.

§ 2461(c), all firearms and ammunition involved in or used in the violation.

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iL The property to be forfeited includes, but is not limited to, a Sig
Sauer MK25 P226 Pistol 9mm, Serial Number 47A192149.
8. If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third
party,

gc has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

é. has been commingled with other property which cannot be

divided without difficulty,

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the United States shall be entitled to forfeiture of substitute property under the

provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

MARIA CHAPA LOPEZ
United States Attorney

By: ah, “Uh. ,
Michael J,£oolican
Assistant United States Attorney

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"Rank M. Talbot
Assistant United States Attorney
Chief, Jacksonville Division

By: ZL (i

fr Cherie L. Kxigsman
Assistant/Unites States Attorney
Chief, National Security and

Cybercrime Section

 

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A TRUE BILL,

Hm 1

Foreperson

JOHN C. DEMERS
Assistance Attorney General
National Security Division

ae A

‘e - Heather M. Schmidt
Senior Tria/Attorney
Counterintelligence-Export

Control Section
Case 3:19-cr-00192-HES-JRK Document 36 Filed 10/31/19 Page 29 of 29 PagelD 222

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